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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILDELPHIA DIVISION

    In re:
                                                              Bankruptcy No. 21-10138-amc
    Bonita L. Wyatt
                                                              Chapter 13
    aka Bonnie Wyatt
              Debtor
    Mortgage Assets Management, LLC f/k/a Reverse
    Mortgage Solutions, Inc.

             Movant
    v.
    Bonita L. Wyatt
    aka Bonnie Wyatt
              Debtor/Respondent
    SCOTT F. WATERMAN, Esquire
              Trustee/Respondent




                                            ORDER OF COURT

             AND NOW, this 6th        day of March , 2024, upon consideration of Mortgage Assets

   Management, LLC f/k/a Reverse Mortgage Solutions, Inc.’s Motion for Relief from Automatic

   Stay, pursuant to 11 U.S.C. § 362(d), any response thereto and that it is not necessary for an

   effective reorganization, it is hereby

             ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code are

   hereby unconditionally terminated with respect to Mortgage Assets Management, LLC f/k/a

   Reverse Mortgage Solutions, Inc.; and it is further

             ORDERED, that Mortgage Assets Management, LLC f/k/a Reverse Mortgage Solutions,

   Inc., its successors and/or assignees be entitled to proceed with appropriate state court remedies
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   against the property located at 2011 E Kings Hwy, Coatesville, PA 19320, including without

   limitation a sheriff’s sale of the property, and it is further



           ORDERED that Mortgage Assets Management, LLC f/k/a Reverse Mortgage Solutions,

   Inc.’s request to waive the 14-day stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.



                                                                    BY THE COURT



                                                                    ______________________________
                                                                    Hon. Ashely M. Chan
                                                                    U.S. Bankruptcy Court Judge




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